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                               UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA


   SHARON WEINSTOCK, et al.,

                                    Plaintiffs,
                    vs.                                            Civ. No. 17-cv-23202-RNS

   MOUSA MOHAMMED ABU MARZOOK,

                           Defendant.
   ___________________________________________/


                              DECLARATION OF ARIEH DAN SPITZEN

             I, Arieh Dan Spitzen, of Jerusalem, Israel, declare pursuant to 28 U.S.C. § 1746, as follows,

   subject to the penalties for perjury:

      A. Professional Background

             1.     I am an expert in Palestinian affairs and society, including the political, social and

   economic aspects of Palestinian society, and the structure, leadership, personnel, and activities of

   various Palestinian Islamic terror groups, including Hamas, which I have researched (and continue

   to research) over the course of many years.

             2.     I have been researching Palestinian issues in Israel and the West Bank and Gaza

   Strip for approximately 40 years. I hold academic degrees in the History of Islamic Countries and

   the History of the Jewish People from the Hebrew University of Jerusalem, where I graduated with

   honors.

             3.     From 1976 to 2009, I served in various positions, mostly within the Israel Defense

   Forces (“IDF”), focused on researching Palestinian affairs.

             4.     From 1981 to 1993, I served as Head of the Research Section in the IDF’s Office


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   for the Advisor for Arab Affairs in the West Bank, and as Deputy Advisor. In these capacities, I

   was involved in researching the socio-economic and political situation of the Palestinian popula-

   tion. I supervised a team of approximately ten researchers. During this period, I prepared and su-

   pervised the preparation of hundreds of research papers, staff papers, articles, anthologies and

   studies in Palestinian matters, which were used and relied upon by high level officials in the Israeli

   government and military.

          5.      From 1993 to 1996, I participated in the negotiations between Israel and the Pales-

   tinians of the Oslo Accords, and was a member of the team that negotiated the transfer of authority

   from the IDF Civil Administration to the Palestinian Authority.

          6.      From 1998 to 2000, I served in the IDF Civil Administration as Department Head

   for Palestinian Affairs in the West Bank at the rank of Colonel.

          7.      From 2001 to 2009, I served as Department Head for Palestinian Affairs in the West

   Bank and Gaza and as the Advisor to the Coordinator of Government Activities in the Territories

   (COGAT) at the rank of Colonel. I reported to the Head of COGAT, above whom were only two

   people – the Minister of Defense and the Chief of Staff. In these capacities, I was responsible

   (among other things) for supervising the work of IDF research and assessment personnel in various

   fields relating to Palestinian affairs, drafting and presenting research and policy papers concerning

   Palestinian affairs, and appearing before and providing briefings to senior governmental and mil-

   itary forums regarding Palestinian affairs. I supervised approximately 50 people. As part of my

   position I also provided numerous briefings about Palestinian affairs in Israel to foreign officials.

   During this time, I became the top authority on the socio-economic civilian situation in the West

   Bank and Gaza, and was responsible for writing or supervising the writing of hundreds of surveys

   and studies about political and social trends, the economic atmosphere and its influence, and other



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   diverse issues connected to the Palestinian realm. Naturally, this research included the activities

   of terror organizations like Hamas and others. In addition, each year I was responsible for writing

   and updating a comprehensive survey regarding the civilian infrastructure of the Hamas organiza-

   tion.

           8.     Since my retirement from the IDF, I have continued to serve in the IDF Reserves

   as an emergency Department Head for Palestinian Affairs in in COGAT. In that capacity, I con-

   tinue to be fully up to date in all that occurs in the Palestinian realm, including in all matters

   relevant to terrorist organizations, including Hamas.

           9.     I am currently an independent consultant on the Middle East, particularly Palestin-

   ian Affairs, to government agencies, research institutes and private parties. I currently provide

   advice regarding the socio-economic and political situation in the Palestinian Authority- controlled

   territories to the IDF’s Coordinator of Activities in the Administered Territories and the Research

   Division of the IDF Intelligence Department. During the last ten years of my IDF service, I also

   provided advice to Israel’s National Defense Council, and to various Israel security and intelli-

   gence agencies, including the Mossad.

           10.    Additionally, I have served as an expert witness in the area of Palestinian affairs in

   dozens of court cases in Israel, including in the Israeli Supreme Court.

           11.    During my last ten years in the IDF, I was a frequent participant and lecturer on the

   issue of Palestinian affairs at symposia, conferences, seminars and other academic meetings spon-

   sored by Israeli universities and research institutes. I continue to lecture in academic settings on

   occasion.

           12.    I am a popular media commentator for the Israeli press, which considers me an

   expert in Palestinian affairs and I am often interviewed on Arabic television stations. In addition,


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   during the last ten years of my IDF service, around once or twice per week, I gave both back-

   ground and in-depth talks to senior Israeli journalists and foreign correspondents of the interna-

   tional media in Israel that deal in Palestinian and military issues.

           13.     I have previously been qualified by U.S. federal courts as an expert witness on is-

   sues related to Palestinian affairs and Hamas, including in: Linde v. Arab Bank, Civ. No. 04-02766

   (E.D.N.Y.); Strauss v. Credit Lyonnais, Civ. No. 06-702 (E.D.N.Y.) and Gill v. Arab Bank, Civ.

   No. 11-3706 (E.D.N.Y.). I also served as an expert consultant to the plaintiffs’ trial team in

   Sokolow v. Palestine Liberation Organization, et al. Civ. No. 04- 0397 (S.D.N.Y.).

           14.     I am fluent in Hebrew and Arabic, and I read and understand English fluently.

           15.     A copy of my CV is attached hereto as Exhibit A.

       B. Mousa Abu Marzook’s U.S.-Based Activities

           16.     I was asked by counsel for the plaintiffs in the above-captioned case to provide my

   professional opinion as to whether and to what extent the U.S.-based activities of the defendant,

   Mousa Abu Marzook, in the years prior to the December 1, 1993 terrorist shooting in which

   Yitzchak Weinstock was killed, enabled Hamas to carry out that attack. The plaintiffs’ counsel

   informed me that for the purpose of providing my opinion on this question, I should assume that

   the factual allegations contained in the Complaint in this case regarding Abu Marzook’s U.S.-

   based activities have been admitted and are true.1


           1
              In any event, Abu Marzook’s U.S.-based activities, which are accurately described in the Com-
   plaint, are well known to me (as they are to other professionals and researchers who have studied Hamas
   during that period) both from documents and information to which I was exposed during my former career
   in the IDF and the Israeli Ministry of Defense, and from the decisions and other documents relating to the
   extradition proceedings against Abu Marzook in federal court in Manhattan, the prosecution of the Holy
   Land Foundation and its founders in federal court in Texas, and the legal proceedings brought against Abu
   Marzook’s associates and various Hamas affiliates in the American courts.


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           17.     In my professional opinion, the leadership, and the organizational and financial as-

   sistance, which Abu Marzook provided to Hamas from the U.S. and through his U.S.-based activ-

   ities in the years prior to the December 1, 1993 shooting were critical to Hamas’ organizational

   and operational ability to carry out that attack (and others during that period), and it is very unlikely

   that the December 1, 1993 attack would have occurred absent those activities. I reach this conclu-

   sion based on the facts below:

           18.     Since its founding in late 1987, Hamas has sought to become the leading political

   and ideological organization in Palestinian society, in place of the Palestine Liberation Organiza-

   tion (“PLO”). To that end, since it was established, Hamas has been a multifaceted, complex or-

   ganization, made up of various divisions and departments, including a social services/welfare de-

   partment, an educational department, a propaganda department, and various divisions that deal

   with religious matters. In addition, Hamas’ “military wing” carries out terrorist attacks. All of these

   different activities function together to serve Hamas’ goal of becoming the most powerful and

   influential organization in Palestinian society, and its ultimate goal of destroying the State of Israel

   and establishing an Islamic regime in its place.

           19.     Therefore, while each individual Hamas terrorist attack may not require significant

   resources – in the case of the murder of Yitzchak Weinstock, the costs of the bullets and the petrol

   for the vehicle (or, depending on one’s method of calculation, the costs of the weapons and vehicle)

   – each such Hamas attack is the end product of a large, complex organizational and operational

   apparatus which required enormous financial and other material resources, and years of intensive

   human efforts, to build up, to operate, and to maintain.

           20.     The person primarily responsible for providing Hamas with the financial resources

   and the organizational infrastructure necessary to operate, function, and carry out terrorist attacks



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   during the first half of the 1990s – including the December 1, 1993 attack in which Yitzchak

   Weinstock was killed – was Mousa Abu Marzook.

           21.       During the first year or so of its existence, Hamas’ violence against Israeli targets

   was (relatively) limited in both severity and quantity. That changed dramatically on February 16,

   1989, when Hamas terrorists abducted and murdered an Israeli soldier on leave, Avi Sasportas.

   Then, on May 3, 1989, Hamas again seized and murdered an off-duty Israeli soldier, Ilan Saadon.2

           22.       With the kidnappings and murders of Sasportas and Saadon the Israeli government

   realized that Hamas was a very serious security threat, and during the spring of 1989 Israel arrested

   virtually the entire Hamas leadership in the West Bank and Gaza Strip, including Hamas’ main

   founder and top leader, Sheikh Ahmed Yassin. Hundreds of Hamas operatives were also arrested

   and questioned.

           23.       The spring 1989 wave of arrests dealt a very serious organizational blow to Hamas,

   and left the still-young movement on the verge of total collapse. Until he was arrested by Israel in

   the spring of 1989, leadership, power and authority in Hamas was centralized and concentrated in

   the hands of Sheikh Yassin.3 There were other, lower-level leaders within Hamas, but they were

   all subordinate to Yassin, who held a monopoly on ultimate control in Hamas. As Professors Shaul

   Mishal and Avraham Sela, leading scholars of Hamas, have explained: “The arrest of Yassin and




           2
               Sasportas’ body was found in May 1989. Saadon’s body was located only in 1996.
           3
              “Until his arrest [in 1989] Sheikh Yassin was the supreme spiritual authority of the [Hamas]
   Movement, its founder, and its military commander. He concentrated in his hands the control over all of its
   activities, including recruiting new members, distributing funds ... and appointing military commanders.”
   Ronni Shaked and Aviva Shabi, Hamas: From Belief in Allah to the Path of Terror, Jerusalem (1994) (He-
   brew) at pp. 153-154.




                                                       6
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   many other leaders of Hamas brought about a paralysis of the [Hamas] movement’s operations.”4

           24.       It was Mousa Abu Marzook who rescued Hamas from this existential crisis. From

   his base in the United States, where he lived in those years (and until early 1993), Abu Marzook

   formulated and successfully carried out a sophisticated plan to re-organize and rehabilitate Hamas,

   in three interrelated ways:

                     First, leadership and authority in Hamas would be shifted from a single individual

   (i.e., Yassin) to an organizational power structure.5 At the peak of this structure would be a newly-

   created “Political Bureau,” headed by Abu Marzook himself.6 The Hamas Political Bureau had

   several “committees” under its control and authority. The most important of these was the “Internal

   Committee,” which was responsible for directing the full range of Hamas’ activities within the

   West Bank and Gaza Strip, including “operational” (i.e. terrorist) activities.7 Other committees

   maintained by the Hamas Political Bureau included the Public Relations Committee, the Financial

   Committee, and the Foreign Relations Committee.8 Thus, the Political Bureau controls the full

   range of Hamas’ activities both within and outside the West Bank and Gaza, and Abu Marzook




           4
             Shaul Mishal and Avraham Sela, The Hamas Wind - Violence and Coexistence, Tel Aviv (1999)
   (Hebrew) (Expanded Edition), at p. 89. See also Hamas, at p. 150 (In the wake of the arrests, “[b]y late June
   1989 … the [Israeli] security establishment felt that Hamas had suffered a mortal blow which would make
   its rehabilitation difficult.”); and Michael Milstein, The Green Revolution: The Social Profile of Hamas,
   Tel Aviv (2007) (Hebrew), at p. 173 (same characterization).
           5
               The Green Revolution, at pp. 41, 43.
           6
            “The supreme leadership body of the leadership ‘abroad,’ and of Hamas generally, is the Political
   Bureau (al-Maktab al-Siyasi).” Id. at 45.
           7
               Id.
           8
            Id. This description of Hamas’ organizational structure relates to the time period prior to Decem-
   ber 1993. The structure has been modified over the years since then.


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   headed and ran the Hamas Political Bureau, and Hamas as a whole, from his home in the United

   States until he moved to Jordan in early 1993.

                      Second, the geographical site of Hamas leadership would be shifted from Hamas

   operatives in the West Bank and Gaza Strip, which were under Israel’s control and supervision,

   and bestowed upon Hamas leaders located in other countries where they could operate freely with-

   out Israeli interference—first and foremost upon Abu Marzook himself, who was living freely in

   the United States. As Hamas experts Ronni Shaked and Aviva Shabi correctly explain: “With Yas-

   sin’s removal, the center of gravity of the leadership moved from the territories [i.e., the West

   Bank and Gaza] to abroad. The meaning of this change was subordination of the [Hamas] Move-

   ment to a new headquarters, located in the United States.”9

                      Third, Abu Marzook established a very successful financial apparatus for Hamas

   in the United States, which successfully raised and transferred many millions of dollars to Hamas

   operatives and local leaders in the West Bank and Gaza Strip throughout the 1990s.10

              25.     By making these radical organizational changes and establishing a highly success-

   ful U.S.-based funding network to support Hamas operations on the ground in the West Bank and

   Gaza Strip, Abu Marzook both rescued Hamas from the severe – and possibly fatal – crisis it faced

   with the arrest of Sheikh Yassin in 1989, and greatly expanded Hamas’ organizational and opera-

   tional capacities in the West Bank and Gaza.11


   9
       Hamas at 153-154. For a similar description see also The Green Revolution at pp. 41, 43.
   10
     The U.S.-based Hamas financial network established by Abu Marzook beginning in the late 1980s was
   shut down by American law enforcement authorities only much later, through a series of administrative and
   criminal proceedings against the Holy Land Foundation in Washington, D.C. and Texas, and against Abu
   Marzook himself and his associates such as Muhammad Salah in Chicago.
   11
        It is important to note that throughout most of this period, i.e., from Hamas’ establishment in late 1987



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             26.    Furthermore, because Abu Marzook had control over Hamas’ “operational appa-

   ratus and sources of funding,” the local Hamas leadership in the West Bank and Gaza Strip was

   not only officially subordinate to Abu Marzook as head of the Political Bureau (i.e. as a matter of

   formal hierarchy), but also practically subordinate to and dependent on Abu Marzook.12

             27.    The consensus among experts on Hamas, with which I agree based on my own

   knowledge in the field, is that Mousa Abu Marzook’s U.S.-based activities during this period were

   absolutely crucial for Hamas’ survival and growth. Thus, Professors Mishal and Sela state that

   “[t]he person who initiated the establishment of the Political Bureau after the broad arrests in mid-

   1989, and who headed it until he was arrested in the United States in 1995, was Dr. Mousa Abu

   Marzook. Abu Marzook restored to Hamas its operational ability.” 13 They further explain that



   until late 1992, Hamas received little to no material support from the Islamic Republic of Iran (“Iran”).
   Beginning in 1992 Iran formed a formal alliance with Hamas, and in late 1992 or early 1993 began to
   provide Hamas with significant funding and other important tangible forms of assistance. But for the first
   several years of Hamas’ existence, it received only marginal financial or other material support from Iran.
   Hamas is a Sunni Moslem organization both in its official ideology and in the affiliation of its leadership
   and membership, while the Iranian government and leadership adhere strongly to the Shi’a form of Islam.
   This Sunni-Shi’a divide meant that Hamas was not an immediate, obvious or “natural” partner for, or ben-
   eficiary of, Iran. Also, by 1988, Iran had already developed a close political alliance with, and was funding
   and delivering other material support to, a different radical Palestinian organization: the Palestine Islamic
   Jihad (“PIJ”). It would be several years, therefore (i.e., until late 1992 or early 1993), before Iran began to
   provide significant funding or other material assistance to Hamas. Thus, the funding provided by Abu Mar-
   zook’s network in the U.S. was critical to Hamas’ existence and operations, until late 1992 at the earliest.
   12
      The Green Revolution at p. 43. The balance of power within Hamas shifted somewhat in favor of the
   local leadership with the establishment of the Palestinian Authority 1994, when Hamas gained freedom
   from Israeli interference in its activities in much of the Gaza Strip, and shifted further in 1997 when Yassin
   and other local Hamas leaders were released by Israel as part of a deal between Israel and Jordan following
   Israel’s failed assassination of Khaled Mashal (who had replaced Abu Marzook as head of the Hamas Po-
   litical Bureau in 1995, after Abu Marzook’s arrest in the United States). But these changes took place well
   after the murder of Yitzchak Weinstock.
   13
        Hamas Wind at 223 (emphasis added).




                                                         9
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    after Sheikh Yassin’s arrest in 1989, and Abu Marzook’s becoming head of the Political Bureau,

    “control over the [Hamas] Movement was managed from abroad, from Springfield, Virginia, in

    the United States, where Abu Marzook lived, and from Amman ... the authority of the new lead-

    ership vis-a-vis Hamas’ command posts in the Gaza Strip and the West Bank flowed mainly from

    their control over transfer of financial resources vital to renewal of Hamas’ public and violent

    activity. ... Hamas thus became a Palestinian movement ... in which the leadership ‘abroad’ con-

    trols the movement’s bases ‘domestically’ and dictates policy lines, approves the language of proc-

    lamations, and runs the military networks.”14

           28.     Similarly, writing in 1994 about Hamas’ history during the previous 5 years (i.e.,

    from 1989 through 1994), Hamas experts Ronni Shaked and Aviva Shabi explained that Abu Mar-

    zook's “control over the [Hamas] Movement’s activities in the territories [i.e., the West Bank and

    Gaza] is achieved through the transfer of funds. The dependence on the sources of funding needed

    to operate the networks [on the ground in the West Bank and Gaza] turned the leadership abroad

    into the decision-maker vis-a-vis the operatives in the field: going forward they could demand

    reports about the daily activities of the Movement, and direct it from above.”15

           29.     Dr. Jonathan Schanzer, a former terrorism finance analyst at the U.S. Department

    of the Treasury who has researched and authorized important studies of Hamas, has explained in

    similar fashion that Abu Marzook “commanded critical aspects of Hamas for six years from his




    14
      Id. at p. 90 (emphasis added). See also id. at p. 127 (again noting that Abu Marzook ran Hamas from
    Springfield, Virginia).
    15
      Hamas at p. 154 (emphasis added). See also id. (noting that Abu Marzook’s reorganization of Hamas in
    1989 provided Hamas with “breathing room. This was reflected in the ability of the Movement to continue
    to exist even after the wave of arrests of its commanders and the members of its networks.”).




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                                            Curriculum Vitae

                                            Arieh Dan Spitzen

                                  PROFESSIONAL BACKGROUND

            1.      My name is Arieh Dan Spitzen. My areas of expertise are: The Palestinian
    Authority; Palestinian society – political, social and economic research of Palestinian society; the
    methods of operation of the Palestinian Authority and the various powerbrokers within the
    Palestinian Authority; the methods of operation and modes of conduct of Palestinian Islamic
    terror groups, such as Hamas and the Palestine Islamic Jihad, with emphasis on their civilian
    infrastructures which I have researched (and continue to research) over many years. I have 40
    years of professional, practical, theoretical and academic experience in these areas.

            2.      Until January 1, 2009, I served as the Department Head for Palestinian Affairs
    and as Advisor for Palestinian Affairs at the office of the Coordinator of Government Activities
    in the Territories at a rank and position of Colonel.

    At the present time I work as a consultant on the Middle East, with an emphasis on Palestinian
    issues, for private and institutional organizations and research institutes (including academic
    institutes).

           3.      In 1976 I graduated with honors from the Department of the History of Islamic
    Countries and the Department of the History of the Jewish People, both within Jerusalem’s
    Hebrew University.

           4.       Also in 1976 I established the Research Section of the Advisor for Arab Issues in
    the Military Government in the West Bank (later to be known as the Civil Administration). I
    served as head of the Research Section for two years. I was chosen for this position based on my
    academic achievements by Professors Amnon Cohen and Menahem Milson, both of whom
    served at one time or another as Arab Affairs Advisor in the West Bank.

            5.       From 1978 to 1981 I served as assistant to Professor Menahem Milson of the
    Department for Arab Language and Literature and was employed as a research-assistant in the
    Van Leer Jerusalem Institute. At Van Leer I dealt with issues concerning the integration of the
    Arab population into all levels of Israeli society. At the same time I prepared a scientific research
    paper about Jerusalem’s economy in the 18th century which was based on original documents in
    Turkish and Arabic that were discovered in the archives of Jerusalem’s Muslim Court. In a
    related effort, I also completed a scientific article - published in the prestigious “Cathedra”
    magazine - about Jewish endowments in Jerusalem at the end of the 18th Century.

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            6.      From 1981 to 1993 I was Head of the Research Section in the office of the
    Advisor for Arab Affairs in the West Bank, as well as Deputy Advisor. In these capacities I was
    involved in researching the socio-economic and political situation of the Palestinian population,
    while focusing on political and social trends and the prevailing atmosphere. In addition, I
    prepared – and assisted my subordinates in preparing - hundreds of research papers, staff papers,
    articles, anthologies, and studies in civilian matters. These were used by the decision-making
    echelons at the Ministry of Defense, the office of the Coordinator of Government Activities in
    the Territories, and at the field level of the Central Command.

    Almost all of the papers from that period, as well as hundreds of papers written at a later time,
    were given a security classification. Therefore, they could not be publicly published.

           7.       Between the years 1993-1996 I participated in the negotiations for the Oslo
    Accords and was a member of the teams that negotiated the transfer of civilian powers and
    responsibilities from the Civil Administration to the Palestinian Authority.

             8.  From 1996 to 1998 I served as Supervisor for civilian coordination and liaison in
    the West Bank vis-à-vis the Palestinian Authority’s Ministry of Civil Affairs, and other civilian
    offices.

            9.     In 1998 I was appointed by the former Chief of Staff of the Israel Defense Forces,
    Shaul Mofaz, and the Minster of Defense, Yitzhak Mordechai, to serve as Department Head for
    Palestinian Affairs in the West Bank. I continued in this position until the year 2000, at a rank of
    Colonel.

            10.      From 2001-2009 I served as Department Head for Palestinian Affairs in the
    Administered Territories, and as the Advisor to the Coordinator of Government Activities in the
    Territories. By virtue of these positions I became the top authority on the socio-economic
    civilian situation in the West Bank and Gaza and was responsible for writing hundreds of
    surveys and studies about civilian conditions, political and social trends, the economic
    atmosphere and its influence, and other diverse civilian issues connected to the civilian
    Palestinian realm. Naturally, there was some overlap into the military sphere, and to activities
    connected with terror organizations like Hamas, the Islamic Jihad, the Democratic Front for the
    Liberation of Palestine, and Global Jihad. In addition, each year I was responsible for writing and
    updating a comprehensive survey regarding the civilian infrastructure of the Hamas – the Da’wa.

            11.      From January 2009-present, I continue to serve in the Israel Defense Forces
    reserves where I function from time to time as the emergency Department Head for Palestinian
    Affairs in the Administered Territories for the Coordinator of Government Activities in the
    Territories. In that capacity, I continue to be fully up to date in all that occurs in the Palestinian

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    realm, including in all matters relevant to the current terror wave, its different characteristics, the
    profile of the terrorists who are carrying out attacks and the influence of the Palestinian
    powerbrokers on this terror wave.

                                                   MEDIA

             Because of my unique knowledge of the Palestinian realm, and as a respected authority
    on the subject, I am frequently asked to provide background information to the media. During
    the last ten years of my IDF service, around once or twice per week, I gave both background and
    in-depth talks to senior Israeli journalists that deal in Palestinian and military issues, along with
    foreign correspondents of the international media in Israel. In addition, I am a popular
    commentator for the Israeli Press, which considers me an expert on everything regarding
    Palestinian affairs, and am often interviewed on Arabic television stations. Last year I appeared
    on Israel’s Channel 1’s “A Second Look” on a program titled “The Color of Terror Money,”
    available at the following link: http://www.iba.org.il/program.aspx?scode=1930171

                                         ACADEMIC COUNSEL

    During my last ten years in the IDF, I was frequently invited to lecture or participate in panels at
    symposiums, conferences, seminars, and scientific meetings that take place on behalf of
    universities and research institutes in Israel. I continue to lecture in academic settings on
    occasion.

                   APPEARANCE AS AN EXPERT WITNESS IN U.S. COURTS

    I have been admitted as an expert witness regarding Hamas in four civil terrorism cases in the
    United States Federal District Court for the Eastern District of New York.

       •   Linde et al v. Arab Bank, PLC, 1:04-cv-02799 (Judge Nina Gershon)

           “Mr. Spitzen’s professional experience and independent research qualify him to offer the
           opinions he provides in this case…. Plaintiffs have established Mr. Spitzen's expertise in
           all of the areas on which he proposes to testify.”

       •   Strauss et al v. Credit Lyonnais, S.A., 1:06-cv-00702 (Judge Dora Irizarry)

           “While there may be legitimate questions as to whether Spitzen's 18–point test
           demonstrates definitively that the 13 Charities are alter egos under the standard
           previously discussed (see supra § III.B), his methodology is supported sufficiently to be
           admissible. Spitzen testified that the factors he used in his test are based upon those used

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           by law enforcement authorities and other experts in determining whether an entity is
           controlled by Hamas, and that his methodology was approved by the Israel Security
           Agency (“ISA”)…” 2013 WL 751283 (E.D.N.Y.) *23.

       •   Weiss et al v. National Westminster Bank PLC, 05-cv-4622 (Judge Dora Irizarry) (see
           above quote for Strauss et al v. Credit Lyonnais, S.A.)
       •   Gill v. Arab Bank PLC, 1:11-cv-03706 (Judge Jack Weinstein)

           “Mr. Spitzen’s eighteen-factor analysis encompasses categories of information generally
           considered by experts who analyze entities believed to act for terrorist entities. His
           methodology passes muster under Daubert and Rule 702.” Gill II, 2012 WL 5177592, at
           *6.

    I also served as an expert consultant to the plaintiffs’ trial team in Sokolow, et al. v. Palestine
    Liberation Organization, et al., Case No. 04-0397 (S.D.N.Y.) in which the plaintiffs received a
    jury award of over $655 million in February 2015.

                APPEARANCE AS AN EXPERT WITNESS IN ISRAELI COURTS

    Over the years I have appeared dozens of times in Israeli military and civilian courts, including
    appearances and/or giving statements to the Supreme Court in a variety of matters that relate to
    the Palestinian realm. It should be noted that I was a key expert witness in the "Islamic
    Movement" case in Israel before the District Court in Haifa, in which I gave my opinion
    regarding the transfer of funds to civilian infrastructures and charitable organizations of the
    Hamas on behalf of radical foundations abroad, the Al Aqsa Foundation, Interpal, and the
    Charity Coalition. The Northern District Advocacy believes my testimony to have been crucial to
    the case.

                       COUNSEL TO INSTITUTIONAL ORGANIZATIONS

    By virtue of my position at the time of my service and today as a private citizen, I advised – and
    continue to advise - the Operation Coordinator in the Administered Territorie and the Research
    Division of the Intelligence Department. During the last ten years of my service in the IDF, I also
    advised the National Defense Council, Israel security agencies, the Mossad, and others regarding
    the socio-economic political civilian situation in the territories controlled by the Palestinian
    Authority.




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                                           LANGUAGES

    I am fluent in Hebrew and Arabic and in English reading and comprehension. I also have an
    intermediate-level (or better) knowledge of Italian and Turkish.

                                          PUBLICATIONS

    Spitzen, Arieh, “The Legal Entity” and Jewish Endowments in Jerusalem at the end of the 19th
    Century, Cathedra, Volume 19, April 1981, pp. 73-82.




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